      Case 17-42346-bem            Doc 55 Filed 06/29/18 Entered 06/29/18 16:55:03                        Desc O Cnf
                                        Plan & O to Debtor Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT

                                               Northern District of Georgia

                                                       Rome Division

In Re: Debtor(s)
       Patricia Jane Porter                                                    Case No.: 17−42346−bem
       3834 Rosedale Lane                                                      Chapter: 13
       Douglasville, GA 30135                                                  Judge: Barbara Ellis−Monro

       xxx−xx−0795



                                      ORDER CONFIRMING PLAN
       The Chapter 13 Plan of Debtor or Debtors (hereinafter "Debtor") has been transmitted to all creditors. Debtor's
plan, or plan as modified, satisfies the requirements of 11 U.S.C. § 1325.

Accordingly, it is ORDERED that

      (1) The Chapter 13 plan is confirmed;

      (2) Property of the estate shall not revest in Debtor until the earlier of discharge of Debtor, dismissal of the case, or
closing of case without the entry of a discharge, unless the Court orders otherwise;

      (3) A creditor must have a proof of claim filed with the Clerk of Court in order to receive a distribution under this
plan, without regard to any other provision of the plan; and

      (4) Attorney fees for Debtor's counsel provided for in the Chapter 13 plan and disclosed in the disclosure statement
required by Federal Rule of Bankruptcy Procedure 2016(b) are allowed as an administrative expense, subject to
disgorgement or disallowance upon request of any party in interest or sua sponte by the Court.

       (5) Because no party in interest has filed a request for an order of dismissal pursuant to 11 U.S.C. § 521(i)(2) and
because the parties in interest should not be subjected to any uncertainty as to whether this case is subject to automatic
dismissal under § 521(i)(1), Debtor is not required to file any further document pursuant to § 521(a)(1)(B) to avoid an
automatic dismissal and this case is not and was not subject to automatic dismissal under § 521(i)(1). This does not
prevent any party in interest from requesting by motion that Debtor supply further information described in §
521(a)(1)(B), and this does not prevent the Chapter 13 Trustee from requesting by any authorized means, including but
not limited to motion, that the Debtor supply further information.

      The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest.

      IT IS SO ORDERED.




                                                                               Barbara Ellis−Monro
                                                                               United States Bankruptcy Judge
Dated: June 29, 2018
Form 133
